     Case 2:11-cr-00181-WFN    ECF No. 558   filed 10/05/12   PageID.1624 Page 1 of 1




 1
 2
 3
 4
 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )      CR-11-181-WFN-9
                        Plaintiff,              )
 9                                              )
       v.                                       )      ORDER DENYING DEFENDANT’S
10                                              )      MOTION TO MODIFY
       MICHAEL L. WILSON,                       )
11                                              )
                        Defendant.              )
12                                              )

13          Before the court is Defendant’s Motion to modify conditions of

14    release.      Defendant      requests     that     he    remain    on   electronic

15    monitoring, but be subject to a curfew, rather than home detention.

16    Defendant’s    supervising     Probation      Officer     does    not   oppose    the

17    request; the United States’ position is unknown.                   As Defendant’s

18    status now is post-change-of-plea, pre-sentencing, there no longer

19    is a presumption of innocence.          The Motion (ECF No. 549) is DENIED.

20          IT IS SO ORDERED.

21          DATED October 5, 2012.

22
23                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
24
25
26
27
28


     ORDER DENYING DEFENDANT’S MOTION TO MODIFY - 1
